                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                  Case No.: 1:19-cv-1179-CCE-JLW

CENTER FOR BIOLOGICAL
DIVERSITY and SIERRA CLUB,
                                               UNIVERSITY OF NORTH
                    Plaintiffs,
                                             CAROLINA AT CHAPEL HILL’S
vs.                                              MOTION TO DISMISS
                                             PLAINTIFFS’ FIRST AMENDED
UNIVERSITY OF NORTH                                 COMPLAINT
CAROLINA AT CHAPEL HILL,

                    Defendant.

      The University of North Carolina at Chapel Hill (“UNC”) hereby moves the

Court to dismiss each of the claims in Plaintiffs’ First Amended Complaint pursuant

to Federal Rule of Civil Procedure 12(b)(6) on the grounds that such claims fail to

state any claim upon which relief may be granted, and also moves to the Court

dismiss Claim III in Plaintiffs’ First Amended Complaint pursuant to Rule 12(b)(1)

of the Federal Rules of Civil Procedure on the further grounds that this Court should

not exercise jurisdiction over the matters set forth in Claim III.

      In support of this Motion, UNC shows the Court its Memorandum of Law in

Support of Motion to Dismiss, which UNC is filing herewith.




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This the 23rd day of July, 2020.

                                   /s/ Peter J. McGrath, Jr.
                                   Peter J. McGrath, Jr.
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                                   The University of North Carolina at Chapel
                                   Hill




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 23rd day of July, 2020, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system which will send notices

of such filings to registered users.

                                       /s/ Peter J. McGrath, Jr.
                                       Peter J. McGrath, Jr.




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